Case 3:10-cv-00201-TJM-DEP Document1 Filed 02/22/10 Page 1 of 7

FORM TO BE USED BY A PRISONER IN FILING A COMPLAINT UNDER THE
CIVIL RIGHTS ACT, 42 U.S.C. SECTION 1983

In the United States District
Court for the GR03B& District
of New York (4 **TOS 72

 

 

 

 

 

 

 

US. FL COURT - N.D. OF ALY.
FEB 22 2010
AT___ OCLOCK |
OO? Bero 4 fo 1el4eu Lawrence K, Baerman, Clerk - Syracuse
Enter above the full name of the

 

plaintiff in this action.

L-\D- G>- 20)

VS.
Surly VPSTATS
Mieoicace VOIVERSITY
SYRsLVSS Now Larne

Enter above the full name of the
defendant or defendants in this action.

I. Parties

(In item A below, place your full name in the first blank and place your present address in the second
blank. Do the same for any additional plaintiffs.)

A. Name of Plaintiff BEEVY Ts cles
Current Address Booms Cv a Ty CatvS ut vwoN AL Fpadity
PD. o- Bex ZOU} Binge t on NY - (3492-2 odH

(In item B below, place the full name of the defendant in the first blank, his official position in the second
blank, and his place of employment in the third blank. Use item C for the same information regarding:
any additional defendants.)

B. Defendant SYMW UPSTATE PASOIBL Unive Es\Ty
2 J
employed as StHot OF ME OIoint & |
at STeTS va iveres{(ty c& New Hoe Sy te Cv $&

C. Additional Defendants

 

 

 
II.

IIT.

IV. Place of Present Confinement

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Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant is involved. Also in-
clude the names of any other persons involved, dates and places of events. You may cite Constitutional

Amendments you alleged were violated, but do not give any legal arguments or cite any cases or statutes.
If you intend to allege a number of related claims, number and set forth each claim in a separate paragraph.
Use as much space as you need. (Attach additional sheet if necessary).

Qa Dec. B48. 2004 UC wes 4Ptaso with THs
PEHTH oF Ny CIVL FRI EDS C Sepp DiBRLE ) SN Pper
CJvrrsnae Oingic) whe pieg Sept. dem F004. AT
WheS PERTINENT Jeo WAVE Jus POSr- ArRCLTEM
CxAminios FoR THERE wae Quests oF TLbU MS
To FJverecet Loe LM Tw prveTDs clo) JT bre We
PROSilines Cee CvuRRS5 SO Lo SvtT IWrWvis Ks Powl-
Gr STATY WAS bNoh® Geo tore In Gerpi®§& A Prever-. F—
PTTRpey Fam Tesvhorl Ton Sitio & off Jee

“Yay oe ReFeRen’ Tasteoo & OEP URL pr ooy Bickée .

Relief

Briefly state exactly what you want the court to do for you. (Make no legal arguments. Do not cite cases
or statutes.)

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FREim LEno PAY SICIES MvL- Deeeee peo ble 67ers Cas S 9b Ts.
DEgssiTlers Fads Pow V ALT AT O& 2 ScHelinm PS TO
Ow PASM Yes Leo yo Sus Tr CoE CUeTI tS? ts
Her0y Bice , vp bv iit Tey bey Cov tT bed
THE Summ oF God AKILLION Psitoty be 0 Sock

FURTISE®R Peo CTHSP PLELL EP YLEw Sosy PH THe CODY -
A

( ) Jury Trial D<) Non-Jury Trial

 

A. Is there a prisoner grievance procedure in this Institution? (xX ) Yes No ( )

B. Did you present the facts relating to your complaint in the state prisoner grievance procedure?
Yes ( ) No (>) .

C. If your answer is YES:

 

1. What steps did you take?

 
Case 3:10-cv-00201-TJM-DEP Document1 Filed 02/22/10 Page 3 of 7
2. What was the result?

 

 

D. If your answer is NO, explain why not _€ IMM © CPE oP wT Le 7H Vs
L&ghlk MsTCUE pPEd SVEN LS Jocr cone TP we.

E. If there is no prison grievance procedure in the institution, did you complain to the prison authorities?
YES ( ) NO (A)

F. If your answer is YES:

1. What steps did you take?

 

 

2. What was the result?

 

 

V. Previous Lawsuits

A. Have you ever begun other lawsuits in any state or federal court relating to your imprisonment?
YES (_ ) NO (>2)

B. If your answer to A is YES: You must describe any lawsuits; currently pending or closed, in the space
below. (If there is more than one lawsuit, you must describe the additional lawsuits on another piece
of paper, using the same outline.)

1. Parties to previous lawsuit:

Plaintiff(s)

 

 

Defendants

 

 

2. Court (if federal court, name the District; if state court, name the county):

 

3. Docket number:

 

4, Name of Judge to whom case was assigned

5. Disposition (was the case dismissed? appealed? still pending?)

 

 

6. Approximate date of filing lawsuit

7. Approximate date of disposition

 

I declare under penalty of perjury that the foregoing is true and correct.

Wi /2G16 Diady BE

(Date) O (Signature of Plaintiff)
® —3—
 

 

 

 

 

Admit Date: _ 09/28/09 __

LIMITED POWER OF ATTORNEY TO PURSUE, PAYMENT AND APPEALS FOLLOWING
DENIAL BASED ON i NECESSITY
AND AUTHORIZATION TO RELEASE MEDICAL INFORMATION
("LHATED POWER OF ATTORNEY’)

f

|, the patient or someone authorized to act on the patient §=Tur\i Gane Divan 's behalf, appoint
University Hospitals my Health care Provider, located at 750 East Adams St., Syracuse, NY 13210,
to have Limited Power of Attorney to pursue payment from my insurance company or governmental
plan for services provided by University Hospital and to pursue any appeals, etc.. | also authorize
University Hospital to pursue any appeals available to me under my Health Plan's policies or
procedures and applicable law, including but not limited to extemal appeals under State or Federal
laws relating to health care services provided by the Health Care Provider. | give permission for
University Hospital to act in any way | could act personally. University Hospital will.take all
reasonable actions, as my agent, to pursue payment and if necessary an appeal. University

Hospital will only use this Limited Power of Attorney when my insurance company or government
plan has denied payment based on medical necessity. University Hospital will not charge me for
services used In pursuing payment or an appeal on my behalf. | agree that my insurance company
or government pian will pay any amount owed directly to University hospital for these services.

In pursuing such payment and/or an appeal:

! authorize University Hospital and my Insurance company to release all ralevant medical
information, including (if applicable) any HIV-related, mental health treatment or alcohol/substance
abuse treatment information, relating to my Health Plan's denlal of payment., J understand that

this Information will only be released as necessary, to the following: my Health Plan, an extemal
appeal! agent, arbitrator, court of law and/or other third party reviewer c" independent Reviewer’). I
understand that my Health Plan and/or the Independent Reviewer will use this information to make
a decision about payment to University Hospital. | also understand that the decision by the
Independent Reviewer will be the final legal decision for me, University Hospital and the Health Plan.

| authorize University Hospital to complete, execute, acknowledge, seal and to deliver any consent,
demand, request, application, agreement, authorization or other documents necessary, to request,

This Is part of Permanent Medical Record Page 1 of 2

LPOAFIF1 03/24/2008 DATE PRINTED: 08/28/09 21:20 BY CAROS LPOAFA 03/24/2008
     

Po. ¢ Case ¢ 3: 10- -CV- “00201 TJM- DEP Document | 1 Filed 02/22/10 aes S of Z

 
 

 
 

nos: 07/22/2009 Age: “2MOS “tender E_
Admit Date: 69/28/09

on my behalf, payment and/or appeal to my Health Plan and, if applicable, to the Independent
reviewer, the New York State Department of Health, the State insurance Department, the US
Department of Health and Human Services, the US Department of Labor and/or any other
other applicable agency.

This Limited Power of Attomey shall not be affected by my subsequent disabllity or incompetence

and may be revoked by me at any time upon prior notice to the Health Care Provider. This Limited

Power of Attorney, including authorization for release of medical information, will end one (1) year @
from today's date unless | agree to extend it beyond that date.

Any person or entity receiving this document may rely on a copy as if it were an executed
original.

IN WITNESS WHEREOF, | have signed my name this gm day of _Exphmber 20 4

YOU SIGN HERE: Sane CO) LLL, 2
PRINTNAME: —Qacah Doo

ADDRESS: 413 PERRY ROAD @
| BINGHAMTON NY_13905

  

WITNESS:
PRINT NAME/TITLE:__1- Eadie l fas Ove

ADDRESS:

 

 

SY RC USE, NY 19210

This is part of Permanent Medical Record Page 2 of 2

 

LPOAFIF1 03/24/2008 DATE PRINTED: Op/28/08 21:20 BY CAROS . LPOAFB 91/0/2008
 

_bocument 1 Filed 02/22/10 Page 6 of

 

Patient y WUA NNE

 

DIBBLE - Dare of Birth
Admit one 9 07/22/2009
c9/28 Account #
Me 74310 B3388385
CONSENT FOR
POST-MORTEM EXAMINATION

 

As legal next-of-kin
I, (we) authoriza University Hospital, and any physician selected by it, to perform a post-mortam
examination to determine the cause of death or to verify the cause of death, or for the following specific

purposes:

 

 

 

Authorization is granted for the removal of tissues as such physician(s) may deem appropriate and
desirable for microscopic exarnination and for the preservation and study of any and all tissues or parts
that may be removed, and for their disposal following study.

Limitation on extent of post-mortem examination-specific instructions: (If none, write “None”)

 

 

Ido notknow oflawful objections to performance of this post-mortern examination held by the deceased
patient or by others equally entitled to grant or withhold their authorization.

 

Signature (next-of-kin): Relationship:

 

 

Signature (next-of-kin): Relationship:

 

 

Signature (next-of-kin): Relationship:
Signatures must be witnessed

WITNESS: .

Signature: Print/Stamp: Date/Time:

PHYSICIAN:
| hava discussed the information described above with the relative(s) or guardian(s) whose
signature(s) appear on this document.

Signature: Print/Stamp/Tite: Date/Time:
Pieass indicate physicians to whom additional coples of report should be sent:

 

 

 

 

 

 

Pathologist May Not Proceed With Examination Unless Proper Signatura(s) Have Been
Obtained and the Permit Has Been Checked To be Sure It ls Completed and Satisfactory.

 

40070 - Consent for Post-Mortem Ex. —- Rev, 7/2008 MR N
 

Patient Name

DIBBLE JULIANNE

 

Date of Bxth

 

 

 

@ } 69/28/09 07/22/2008
wea —_a8868
Patient Name:
DONOR REFERRAL MR DOB:
Notify Stetline with all impending and actual! deaths.
1-800-894-9914

 

Date of call:

Time of call: 2400 |

 

1295914

 

Does the patient meet the criteria for screening potential as an organ/tissue donor?:

NY Yes

| No

'{f, NO please explain

 

 

 

 

 

 

 

 

vome (Moana BN, a2

F83023-Donor Referral Rev. 6/2004 MR N
